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           EXHIBIT 5
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                         Deposition of:
                           Audio 2
                     November 16, 2021


                        In the Matter of:

        Stossel Vs. Facebook Inc. Et Al.




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4                                            JOHN STOSSEL
5
6                                            VIA FACEBOOK
7
8                                   GOVERNMENT FUELED FIRES
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10                                     SEPTEMBER 22, 2020
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24   Job No. 4956927
25   Transcribed By:            Pamela A. Skaw

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                                                                           Page 2

1                MR. STOSSEL:         A large part of America is on fire.

2                UNIDENTIFIED SPEAKER:          It's Mother Earth is angry.

3                MR. STOSSEL:       Why would Mother Earth be angry?

4                UNIDENTIFIED SPEAKER:          Because of climate change.

5                MR. STOSSEL:       Politicians are eager to blame the

6    fires on climate change.

7                UNIDENTIFIED SPEAKER:          The debate is over around

8    climate change.

9                MR. STOSSEL:       California's Governor smiles while

10   he talks about it.

11               UNIDENTIFIED SPEAKER:          All of this cataphies

12   around climate change is just a huge distraction.

13               MR. STOSSEL:       Michael Schellenberger,

14   environmentalist, who Time Magazines calls a hero of the

15   environment; says it's silly to blame the fires on climate

16   change.

17               UNIDENTIFIED SPEAKER:          Climate change is real.

18   It's not the end of the world.            It's not our most serious

19   environmental problem.

20               MR. STOSSEL:       And it's not the main cause of the

21   California fires.

22               UNIDENTIFIED SPEAKER:          Governor Newsome tweeted

23   out that last year we have one-tenth of the area burned as

24   we're having this year and therefore it's climate change.

25               It's like well what?          Did climate change happen

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                                                                           Page 3

1    between last year and this year?

2                None of this makes any sense.

3                MR. STOSSEL:       But the media keep talking about a

4    climate change apocalypse.

5                UNIDENTIFIED SPEAKER:          Climate apocalypse.

6                If all you have is a hammer, everything looks like

7    a nail.

8                If you -- all you know is climate scientists, then

9    every weather event you blame on climate change.

10               MR. STOSSEL:       If    not climate change, what is to

11   blame?

12               AUDIO CLIP:       Only you can prevent forest fires.

13               MR. STOSSEL:       Foolish policies.         For years,

14   governments put out every fire they could.

15               But if you want to protect forests --

16               AUDIO CLIP:       Tens of millions of acres should have

17   naturally burned every ten years or so in lots of fires with

18   smaller flames but we put most of those out.

19               MR. STOSSEL:       This is the overgrowth that's been

20   accumulating in these forests for the past century because

21   people have been putting out fires instead of letting them

22   burn the way they naturally used to.

23               UNIDENTIFIED SPEAKER:          So now when there is a

24   fire, it's much more likely to burn out of control.

25               MR. STOSSEL:       Climate change has made things

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1    worse.    California's warmed three degrees over 50 years.

2    But --

3                UNIDENTIFIED SPEAKER:          You could have had this

4    amount of warming and not had these fires and the reason we

5    know that is because the forests that were well managed have

6    survived the mega fires.

7                MR. STOSSEL:       Like this forest controlled by

8    Southern California Edison.

9                So far, selective cutting protested it.

10               And now the forest service is trying to educate

11   people.

12               UNIDENTIFIED SPEAKER:          It looks like a very well

13   managed forest.       I would agree.

14               UNIDENTIFIED SPEAKER:          Well, let's burn it.

15               UNIDENTIFIED SPEAKER:          All right.

16        (Music)

17               UNIDENTIFIED SPEAKER:          Describe burning and

18   frequent fire is a must if we're going to maintain a

19   biodiversity in the plant life.

20               UNIDENTIFIED SPEAKER:          When Europeans came, we

21   have these reports of California just being very smoky and

22   on fire during the summers.           Native Americans were burning

23   huge amounts of land.

24               MR. STOSSEL:       So for the past years it's been

25   unnaturally un-smoky.

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1                 UNIDENTIFIED SPEAKER:        We haven't had enough fires

2    for maybe a hundred years.

3                 MR. STOSSEL:     But it really sucks if you live

4    there.   The smoke is bad.

5                 UNIDENTIFIED SPEAKER:        But it's what a lot of

6    forest ecosystems require.

7                 MR. STOSSEL:       Recently fire hit the ancient

8    redwoods.

9                 UNIDENTIFIED SPEAKER:        Everyone on the east coast

10   goes, oh, my God.      These ancient redwoods are going to burn

11   down.

12                MR. STOSSEL:     They're trees.        They're not going to

13   burn down.

14                UNIDENTIFIED SPEAKER:        The smaller trees do, of

15   course, burn down.       But, when you're talking about redwood

16   trees and other old growth, the bark is very thick.                     It's

17   fire resistant.

18                In fact, there's a particular kind of ancient

19   redwood where the inside of it has been entirely burned out

20   and it's still alive and you can see green growth shooting

21   out of it.

22                MR. STOSSEL:     This surprised the politicians.

23                UNIDENTIFIED SPEAKER:        Gavin Newsome visited the

24   park and said what a miracle.

25                UNIDENTIFIED SPEAKER:        They're still standing.

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                                                                            Page 6

1                 UNIDENTIFIED SPEAKER:          It's exactly what you would

2    expect.

3                 MR. STOSSEL:       Not if you're a journalist.

4                 UNIDENTIFIED SPEAKER:          Two days later, all the

5    journalists started to kind of go, oh, wow.                  What a

6    surprise.     The ancient redwoods didn't burn down.

7                 Nobody's more alienated from the natural

8    environment and really nobody's more apocalyptic then

9    environmental journalists.

10                UNIDENTIFIED SPEAKER:          We have to get away form

11   just sort of the tree hugging mentality.

12                You have to look at the whole -- it's the classic,

13   you know, not seeing the forest for the trees.

14           (Cutting noise)

15                MR. STOSSEL:       This year's fires finally persuaded

16   California's politicians to allow more people to cut trees

17   down.

18           (Cutting noise)

19                UNIDENTIFIED SPEAKER:          There's actually widespread

20   agreement on this.         In fact, the Governor of California and

21   President Trump recently signed an agreement to clear much

22   more area.

23                Even the Sierra Club, which has opposed this kind

24   of thinning of forests, has now changed its tune.

25                MR. STOSSEL:       It's about time.         They had policies

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1    were the biggest cause of this year's fires, not the

2    slightly warmer climate.

3              And while climate change is a problem,

4    Schellenberger's new book explains, it's not an apocalypse.

5              UNIDENTIFIED SPEAKER:          Natural disasters aren't

6    getting worse.    In fact, they're getting better.                  The number

7    of deaths from natural disasters has declined over 90

8    percent over the last       hundred years.

9              A small change in temperature is not the

10   difference between normalcy and catastrophe.

11        (Music)

12        (End of audio.)

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1                          C E R T I F I C A T I O N
2
3    I, Pamela Skaw, certify that the foregoing transcript is a
4    true and accurate record of the proceedings.
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11
      /s/ Pamela Skaw
12   ____________________
     Pamela Skaw
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     DATE:   November 23, 2021
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